                  Case 3:19-mj-01900-MSB Document 3 Filed 05/09/19 PageID.20 Page 1 of 1

                                                   UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
     UNITED STATES OF AMERICA
     v.
     JOHN T. EARNEST,
                                          .)
                                           ) Case No:
                                           )
                                                        M0                                                                              \°'                          \0\ 00
                               APPLICATION FOR WRIT OF HABEAS CORPUS
     The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus

                                      (/) Ad Prosequendum                                                                       ( ) Ad Testificandum




     Detainee is:        (.f) charged in this district by:
                           a.)                                                                                                                                                         \..0
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                                                                                                                                                                                                           J
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                                                                                                                                                                                                   :.:: ' l
                                 () Indictment                                                                  ( ) Information                                 (.f) Complaint :n-.                )';~      :::
                                                                                                                                                                               ::x:               r-; ;::;
     Charging Detainee With:     18: U.S.C. §§ 247 and 249                                                                                                                                        <{la
                                                                                                                                                                                      \. • .,.I
                                                                                                                                                                                                  (J)
                                                                                                                                                                                                  ......_,
                or         b.)        ( ) a witness not otherwise available by ordinary process of the Court                                                                                      ()
                                                                                                                                                                                      f -
                                                                                                                                                                                                  )'.>

     Detainee will: a.)               (.f)retum to the custody of detaining facility upon termination of proceedings
            or      b.)               ( ) be retained in federal custody until final disposition of federal charges, as a sentence
                                          is currently being served at the detaining facility.

     Appearance is necessary for Arraignment on Tuesday, May 14, 2019, at 2:00 p.m. in the courtroom before Judge
     Michael S. Berg, U~ited States Courthouse, 221 West Broadway San                101.
1hereby attest@!ld-~rti~-oiY ,.-.fr,JA/19.
That the fore90i~Q qocumeo js_~~ ~e and correct
copy of the origio'al ... file il'I """ Mliee._af!.8 il'I ""~ le!I~                                                                                · a     an
Clol8let!ly. --:.. '-   '         _,, -~ :_ ~- ~                                                                                              ;      a e.Harrigan@usdoj.gov
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           :   -;t:LERK, U.S. DISl'fuefceURT                           Attorne      R                                                              ord for: United States of America
                                 ~ ~ .· -               RIT OF HABEAS CORPUS
                               ii)         ia
                                       P1 ose<;1.uendum                        ( ) Ad Testificandum
By                           - •·      '      t'deffit!Yabove-named custodian, as well as the United States Marshal for this
   district, is here~;:)J'_lU}ERED to produce the named detainee, on the date                   c1 d above, and any further
   proceedings to be had in this cause, and at the conclusion of said proce if1                    a · ~inee to the above-
   named custodian.                                   KAREN S. CRAWFORD                              L. 6i
                                                                   U.S. MAGISTRATE JUDGE
    Date
    Please provide the following, if known:
        AKA(s) (ifaoolicable):                                             . E=a=r...,n=es=t~------------ Male •
                                                  -"-'Jo.....h.....n._T......_.                                                                                                        FP.m~lP.                     n
        Bookin!! or Fed. Re!!.#:                  _19_7_26_5_7_5_ _ _ _ _ _ _ _ _ _ _ _ _ DOB:                                                                                              06/08/1999
        Facilitv Address:                         _,..G...e""'or._. g.,.e'""'B. _,a. ,.j....
                                                                                         le'-"y-'D"""""et.,.e....
                                                                                                              nt......i""'on.. . . ._F....ac"""i......li...._tyL--_ _ _ _ _ _ Race:
                                                    446 Alta Road Ste 5300. San Diego CA 92158                                                                         FBI#:
        Facilitv Phone:                             (619) 210-0385
        Currentlv Incarcerated For:

                                                                                    RETURN OF SERVICE

    Executed on                             by
                                                                                                                                                  (Signature)
